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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

QORVO, INC.,                                    )
                                                )
                       Plaintiff,               )
                                                )
       v.                                       )   C.A. No. 21-1417 (JPM)
                                                )
AKOUSTIS TECHNOLOGIES, INC. and                 )   DEMAND FOR JURY TRIAL
AKOUSTIS, INC.,                                 )
                                                )
                       Defendants.              )

             DECLARATION OF TIMOTHY P. CREMEN IN SUPPORT OF
              PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF

       I, Timothy P. Cremen, declare as follows:

       1.      I am an attorney at the law firm of Sheppard, Mullin, Richter & Hampton LLP and

counsel for Plaintiff in this matter. I am an active member of the Bar for the District of Columbia

and admitted pro hac vice to practice in the District of Delaware. I make this Declaration based on

personal knowledge and would testify competently to the matters herein if called to do so.

       2.      Attached as Exhibit A1 is a true and correct copy of the Initial Claim Construction

Declaration of John C. Bravman, Ph.D., dated July 11, 2022.

       3.      Attached as Exhibit A2 is a true and correct copy of the Rebuttal Claim

Construction Declaration of John C. Bravman, Ph.D., dated July 29, 2022.

       4.      Attached as Exhibit A3 is a true and correct copy of excerpts of RF Bulk Acoustic

Wave Filters for Communications (Ken-ya Hashimoto ed., 2009).

       5.      Attached as Exhibit A4 is a true and correct copy of the Initial Claim Construction

Expert Report and Declaration by Dr. Clark Nguyen, dated July 11, 2022, which was served by

Akoustis.
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       6.     Attached as Exhibit A5 is a true and correct copy of the Rebuttal Claim

Construction Expert Report and Declaration by Dr. Clark Nguyen, dated July 29, 2022, which

was served by Akoustis.

       7.     Attached as Exhibit A6 is a true and correct copy of the transcript for August 12,

2022 deposition of Dr. John C. Bravman.

       8.     Attached as Exhibit A7 is a true and correct copy of the transcript for August 10,

2022 deposition of Dr. Clark Nguyen.

       9.     Attached as Exhibit A8 is a true and correct copy of U.S. Patent No. 7,795,781.

       10.    Attached as Exhibit A9 is a true and correct copy of U.S. Patent No. 8,999,187.

       11.    Attached as Exhibit A10 is a true and correct copy of U.S. Patent No. 9,197,185.

       12.    Attached as Exhibit A11 is a true and correct copy of U.S. Patent No. 9,679,765.

       13.    Attached as Exhibit A12 is a true and correct copy of U.S. Patent Publication No.

2014/0159548, which was produced by Akoustis as Exhibit B03.

       14.    Attached as Exhibit A13 is a true and correct copy of Energy Trapping in Mesa-

shaped Quartz Crystal Microbalance by F. Shen et al., published in 2002 IEEE: Sensors (Nov.

2002), which was produced by Akoustis as Exhibit B05.

       15.    Attached as Exhibit A14 is a true and correct copy of Capacitive-piezoelectric

Transducers for High-Q Micromechanical AlN Resonators by Li-Wen Hung & Clark T-C.

Nguyen, published in 24 J. of Microelectromechanical Sys. No. 2, (Apr. 2015), which was

produced by Akoustis as Exhibit B08.

       16.    Attached as Exhibit A15 is a true and correct copy of A Negative-Capacitance

Equivalent Circuit Model for Parallel-plate Capacitive-gap-transduced Micromechanical

Resonators by Clark T-C. Nguyen et al., published in 61 IEEE Transactions On Ultrasonics,




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Ferroelectrics, and Frequency Control No. 5, (May 2014), which was produced by Akoustis as

Exhibit B10.

       17.     Attached as Exhibit A16 is a true and correct copy of Higher-mode Free-free Beam

Micromechanical Resonators by Mustafa U. Demirci & Clark T-C. Nguyen, presented in 2003

IEEE Int’l Frequency Control Symposium, dated May 5-8, 2003, which was produced by Akoustis

as Exhibit B15.

       18.     Attached as Exhibit A17 is a true and correct copy of RF Channel-select

Micromechanical Disk Filters—Part II: Demonstration by Clark T-C. Nguyen et al., published in

66 IEEE Transactions On Ultrasonics, Ferroelectrics, and Frequency Control No. 1 (Jan. 2019),

which was produced by Akoustis as Exhibit B16.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on August 30, 2022.



                                              /s/ Timothy P. Cremen
                                             Timothy P. Cremen




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

August 30, 2022, upon the following in the manner indicated:

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                                            /s/ Jeremy A. Tigan

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